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          EXHIBIT H
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Laurie E. Morrison, Esq.

From:                        Welch, Nicole A. <nicole.welch@ogletree.com>
Sent:                        Monday, March 19, 2018 5:21 PM
To:                          Laurie E. Morrison, Esq.
Cc:                          Warshaw, Aaron
Subject:                     Washington v. Walgreens
Attachments:                 Washington - Defendants_ Responses and Objections to Plaintiff_s Post-Deposition Requests.PDF;
                             DR 002441-DR 002445.pdf; DR 002446-DR 002675.pdf; DR 002676-DR 002690.pdf; DR 002691-DR
                             002701.pdf; Washington - Ltr to Laurie Morrison encl. doc production 2018-03-19.pdf


Laurie, 
 
Please find attached Defendants’ Responses and Objections to Plaintiff’s requests made during and after the defenses 
witnesses’ depositions. Defendants’ supplemental document production bearing Bates numbers DR 002441‐2701 is also 
attached.   
 
Today we also sent you a disc containing additional medical records received from Plaintiff’s healthcare providers, Bates‐
stamped DR 000852‐2440. 
 
Thank you, 
Nicole 
 

Nicole A. Welch | Ogletree, Deakins, Nash, Smoak & Stewart, P.C.
1745 Broadway, 22nd Floor | New York, NY 10019 | Telephone: 212-492-2095 | Fax: 212-492-2501
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                                                             DR 002442
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CONFIDENTIAL                                                          DR 002676
